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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      November 8, 2021

Via Email
Brent Mayr
Mayr Law, P.C.
Houston Office:
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The Woodlands Office:
1095 Evergreen Cir., Suite 200, The Woodlands, TX 77380
bmayr@mayr-law.com

       Re:      United States v. Christopher Grider
                Case No. 1:21-cr-00022-CKK

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:

             1. HIGHLY SENSITIVE: Additional CCTV footage videos of defendant (8
                files)
             2. Open-source video of defendant on scaffolding (“Protesters Take the US
                Capitol”)
             3. Open-source interviews by D-14 about defendant (2 files)

       This material is subject to the terms of the Protective Order issued in this case. Please
adhere to sensitivity markings.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        I will forward additional discovery as it becomes available. In the meantime, please let
me know if there are any categories of information that you believe are particularly relevant to
your client.

       If you have any questions, please feel free to contact me.
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                                   Sincerely,


                                   _______________________
                                   Candice C. Wong
                                   Assistant United States Attorney
                                   202-252-7849
                                   Candice.wong@usdoj.gov




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